    Case 3:17-cv-00072-NKM-JCH Document 413 Filed 02/15/19 Page 1 of 1 Pageid#: 3828
                                                                         CLERKS OFFICE U.S. DIST. COURT
                                                                            AT CHARLOTTESVILLE, VA
                                                                                  FILED
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    1    JamesHartStern                                                      JULIA C. DUDLEY, CLERK
         12625FrederickStreetSteI-5                                          BY: /s/ J. JONES
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         SocialistM ovem entm akesthefollow ing substitution:
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         Form erIegalrepresentative:
    14 Jam es E. Kolenich,KolenichLaw Office(ProHac)9435W aterstoneBl
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    16 Form er Iegalrepresentative:                                                           '
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    18 N ew legalrepresentative:
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       Jam es HartStern 12625 Frederick StreetSte l-5 M oreno V alley California 92553
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         The party m aking this substim tion isa defendant.
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    21 Iconsentto this substitution.
         February11,2019
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